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                                                                                                           6 VERRAGIO, LTD.
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                   ♦ Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                                                     UNITED STATES DISTRICT COURT
                                                                                                          10                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                          11 VERRAGIO, LTD.                              )   Case No. 2:17-CV-07247
                                                                                                                                                         )
                                                                                                          12              Plaintiff,                     )   COMPLAINT FOR COPYRIGHT
                                                                                                                                                         )   AND TRADEMARK
                                                                                                          13
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                                                                                                                    v.                                   )   INFRINGEMENT; DEMAND FOR
                                                                                                                                                         )   TRIAL BY JURY
                                                                                                          14 SUPER BELL JEWELERS,                        )
                                                                                                                                                         )
                                                                                                          15               Defendant.                    )
                                                                                                                                                         )
                                                                                                          16                                             )
                                                                                                                                                         )
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                                                                                                          18
                                                                                                          19        Plaintiff Verragio, Ltd. (“Verragio”), by and through its attorneys, Tucker Ellis
                                                                                                          20 LLP, files its complaint against Super Bell Jewelers (“Defendant”) for injunctive relief
                                                                                                          21 and damages as follows:
                                                                                                          22                          Subject Matter Jurisdiction and Venue
                                                                                                          23        1.     This case is a civil action arising under the Trademark and Copyright Laws
                                                                                                          24 of the United States, 15 U.S.C. §§ 1051, et seq., and 17 U.S.C. §§ 101, et seq.,
                                                                                                          25 respectively. This Court has subject matter jurisdiction over the claims in this Complaint
                                                                                                          26 which relate to copyright infringement pursuant to 15 U.S.C. § 1121, 17 U.S.C. § 501,
                                                                                                          27 and 28 U.S.C. §§ 1331 and 1338(a).
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                                                                                  1         2.    Venue is proper in this court pursuant to 28 U.S.C. §§ 1391(b) and 1400(a).
                                                                                  2 The infringing products which are the subject of this litigation are and have been
                                                                                  3 distributed and offered for distribution in the Central District of California; the claims
                                                                                  4 alleged in this action arose in the Central District of California; and, the Defendant
                                                                                  5 transacts business in the Central District of California.
                                                                                  6                              Parties and Personal Jurisdiction
                                                                                  7         3.    Verragio is a New York corporation with its principal place of business at
                                                                                         th        th
                                                                                  8 330 5 Avenue, 5 Floor, New York, NY 10001.
                                                                                  9         4.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                 10 has its principal place of business at 606 So. Olive St., Suite 2000, Los Angeles, CA
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                                                                                 11 90014.
                                                                                 12         5.    This Court has personal jurisdiction over Defendant because Defendant
                                                                                 13 transacts business and has other related activities within the Central District of California.
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                                                                                 14 Defendant regularly does and solicits business and derives substantial revenue from
                                                                                 15 doing business in this Judicial District.
                                                                                 16                                   The Business of Verragio
                                                                                 17         6.    Barry Nisguretsky (“Nisguretsky”) is the owner of Verragio.
                                                                                 18         7.    For over 20 years, Nisguretsky has been an innovator in the design creation,
                                                                                 19 and marketing of fine jewelry. Nisguretsky designs his own jewelry and has created
                                                                                 20 exclusive collections from only top quality material.
                                                                                 21         8.    Among Nisguretsky’s jewelry designs are D-103M, D104P, D-104R, D-111,
                                                                                 22 D-123R and D-1333RD, INS-7001, and PAR-3003R, each an original design comprising
                                                                                 23 copyrightable subject matter under the laws of the United States.
                                                                                 24         9.    D-103M, D104P, D-104R, D-111, D-123R and D-1333RD are part of
                                                                                 25 Verragio’s Parisian Collection.
                                                                                 26         10.   INS-7001 is part of Verragio’s Insignia Collection.
                                                                                 27         11.   PAR-3003R is part of Verragio’s Paradiso Collection.
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                                                                                  1        12.      At all relevant times, Nisguretsky complied in all respects with the
                                                                                  2 Copyright Act, 17 U.S.C. § 101, et seq., and secured the exclusive rights and privileges in
                                                                                  3 and to the copyrights in D-103M (VA 1-818-592), D104P (VA 1-818-572), D-104R (VA
                                                                                  4 1-818-604), D-111 (VA 1-818-461), D-123R (VA 1-818-438), D-133RD (VA 1-818-
                                                                                  5 805), INS-7001 (VAu 996-693), and PAR-3003R (VA 1-398-941).
                                                                                  6        13.      Nisguretsky has received a Certificate of Registration from the Register of
                                                                                  7 Copyrights for D-103M (VA 1-818-592), a copy of which is attached to this Complaint
                                                                                  8 as Exhibit A.
                                                                                  9        14.      Nisguretsky has received a Certificate of Registration from the Register of
                                                                                 10 Copyrights for D104P (VA 1-818-572), a copy of which is attached to this Complaint as
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                                                                                 11 Exhibit B.
                                                                                 12        15.      Nisguretsky has received a Certificate of Registration from the Register of
                                                                                 13 Copyrights for D-104R (VA 1-818-604), a copy of which is attached to this Complaint as
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                                                                                 14 Exhibit C.
                                                                                 15        16.      Nisguretsky has received a Certificate of Registration from the Register of
                                                                                 16 Copyrights for D-111 (VA 1-818-461), a copy of which is attached to this Complaint as
                                                                                 17 Exhibit D.
                                                                                 18        17.      Nisguretsky has received a Certificate of Registration from the Register of
                                                                                 19 Copyrights for D-123R (VA 1-818-438), a copy of which is attached to this Complaint as
                                                                                 20 Exhibit E.
                                                                                 21        18.      Nisguretsky has received a Certificate of Registration from the Register of
                                                                                 22 Copyrights for D-133RD (VA 1-818-805), a copy of which is attached to this Complaint
                                                                                 23 as Exhibit F.
                                                                                 24        19.      Nisguretsky has received a Certificate of Registration from the Register of
                                                                                 25 Copyrights for INS-7001 (VAu 996-693), a copy of which is attached to this Complaint
                                                                                 26 as Exhibit G.
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                                                                                  1         20.    Nisguretsky has received a Certificate of Registration from the Register of
                                                                                  2 Copyrights for PAR-3003R (VA 1-398-941), a copy of which is attached to this
                                                                                  3 Complaint as Exhibit H.
                                                                                  4         21.    Nisguretsky has exclusively licensed his copyrighted jewelry designs to
                                                                                  5 Verragio, including D-103M, D104P, D-104R, D-111, D-123R, D-1333RD, INS-7001
                                                                                  6 and PAR-3003R.
                                                                                  7         22.    Since its creation, D-103M, D104P, D-104R, D-111, D-123R, D-1333RD,
                                                                                  8 INS-7001 and PAR-3003R have been manufactured by Verragio, or under its authority.
                                                                                  9         23.    Each engagement ring in Verragio’s Parisian Collection, as well as in most
                                                                                 10 of the other Verragio collections, contains the Verragio Crest. The Verragio Crest, as it
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                                                                                 11 applies to jewelry, “consists of the configuration of a crest in the shape of a crown with
                                                                                 12 three points featured as a part of a ring design.”          Verragio owns a United States
                                                                                 13 trademark registration for the Verragio Crest, Registration No. 4,336,434. A copy of the
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                                                                                 14 Registration Certificate for this registration is attached to this Complaint as Exhibit I.
                                                                                 15         24.    Verragio has made and continues to make a substantial investment of time,
                                                                                 16 effort, and expense in the design, manufacturing and marketing of its jewelry featuring
                                                                                 17 the Verragio Crest.
                                                                                 18         25.    Verragio advertises its products, including jewelry that contains the Verragio
                                                                                 19 Crest, in social media including Facebook, Pinterest, Twitter, YouTube, Instagram,
                                                                                 20 Google+ and over the World Wide Web through its website www.verragio.com.
                                                                                 21         26.    Verragio jewelry bearing the Verragio Crest has been sold to retail stores
                                                                                 22 throughout the United States. These retail stores display and offer for sale to the general
                                                                                 23 public jewelry that contains the Verragio Crest.
                                                                                 24         27.    Verragio jewelry bearing the Verragio Crest has had outstanding commercial
                                                                                 25 success. As a result, jewelers and the public recognize the Verragio Crest as designating
                                                                                 26 an exclusive source, thereby creating a goodwill which inures to Verragio’s benefit.
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                                                                                  1                                  The Business of Defendant
                                                                                  2         28.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                  3 is a wholesale designer, manufacturer and/or distributor of jewelry to the jewelry industry
                                                                                  4 and is in the business of designing, manufacturing, marketing and selling fine jewelry.
                                                                                  5         29.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                  6 operates its jewelry business in direct competition with retailers that purchase jewelry
                                                                                  7 from Verragio.
                                                                                  8         30.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                  9 sells its jewelry to, and actively solicits and seeks as customers, the same jewelry retailers
                                                                                 10 as Verragio.
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                                                                                 11         31.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                 12 sells its jewelry to, and actively solicits and seeks as customers, the same customers and
                                                                                 13 consumers as those retailers that purchase jewelry from Verragio.
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                                                                                 14         32.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                 15 sells its jewelry to jewelers, retailers, and consumers within this Judicial District, and
                                                                                 16 specifically markets its jewelry within this Judicial District.
                                                                                 17         33.    Verragio has not authorized Defendant to copy, reproduce, manufacture,
                                                                                 18 duplicate, disseminate, or distribute jewelry with a design that is substantially similar to
                                                                                 19 the copyrighted jewelry designs of D-103M, D104P, D-104R, D-111, D-123R, D-
                                                                                 20 1333RD, INS-7001 and PAR-3003R or any other copyrighted ring design licensed to
                                                                                 21 Verragio.
                                                                                 22         34.    Verragio has not authorized Defendant to copy, reproduce, manufacture,
                                                                                 23 duplicate, disseminate, or distribute jewelry with a design that is confusingly similar to
                                                                                 24 the Verragio Crest trademark.
                                                                                 25         35.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                 26 has engaged in the advertisement, manufacture, distribution, duplication and/or sale of
                                                                                 27 jewelry with designs that are substantially similar to the copyrighted jewelry designs of
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                                                                                  1 D-103M, D104P, D-104R, D-111, D-123R, D-1333RD, INS-7001 and PAR-3003R, and
                                                                                  2 other copyrighted ring designs licensed to Verragio.
                                                                                  3        36.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                  4 has engaged in the advertisement, manufacture, distribution, duplication and/or sale of
                                                                                  5 jewelry with designs that are confusingly similar to the Verragio Crest trademark.
                                                                                  6        37.    Pictures of some of these unauthorized and infringing pieces of jewelry are
                                                                                  7 attached to this Complaint as Exhibit J.
                                                                                  8                                   First Cause of Action
                                                                                  9                 (Copyright Infringement Under 17 U.S.C. § 101 et seq.)
                                                                                 10        38.    Verragio realleges and incorporates by reference each of the allegations
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                                                                                 11 contained in Paragraphs 1 through 37 of this Complaint as though fully set forth.
                                                                                 12        39.    Defendant’s acts constitute infringement of Verragio’s licensed copyrights
                                                                                 13 in D-103M, D104P, D-104R, D-111, D-123R, D-1333RD, INS-7001 and PAR-3003R in
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                                                                                 14 violation of the Copyright Act, 17 U.S.C. § 101, et seq.
                                                                                 15        40.    A comparison of the jewelry designs of D-103M, D104P, D-104R, D-111,
                                                                                 16 D-123R, D-1333RD, INS-7001 and PAR-3003R to Defendant’s Rings follows:
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                                                                                 26        Verragio Style No. D-103M                    Defendant’s Style 2210

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                                                                                 10        Verragio Style No. D-104P                Defendant’s Style 2205
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                                                                                           Verragio Style No. D-104R                Defendant’s Style 2206
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                                                                                 10        Verragio Style No. D-111                 Defendant’s Style 2210
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                                                                                 22        Verragio Style No. D-123R                Defendant’s Style 2209
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                                                                                           Verragio Style No. D-133RD               Defendant’s Style 2207
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                                                                                 23        Verragio Style No. INS-7001                   Defendant’s Ring
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                                                                                            Verragio Style No. PAR-3003R                     Defendant’s Ring
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                                                                                 14         41.   Verragio is informed and believes, and on that basis alleges, that
                                                                                 15 Defendant’s manufacture, distribution, duplication and/or sale of infringing copies of
                                                                                 16 infringing copies of D-103M, D104P, D-104R, D-111, D-123R, D-1333RD, INS-7001
                                                                                 17 and PAR-3003R was deliberate, willful, malicious, oppressive, and without regard to
                                                                                 18 Verragio’s proprietary rights.
                                                                                 19         42.   Defendant’s copyright infringement has caused, and will continue to cause
                                                                                 20 Verragio to suffer, substantial injuries, loss, and damage to its proprietary and exclusive
                                                                                 21 rights to the copyrights in D-103M, D104P, D-104R, D-111, D-123R, D-1333RD, INS-
                                                                                 22 7001 and PAR-3003R and has damaged Verragio’s business reputation and goodwill,
                                                                                 23 diverted its trade and caused loss of profits, all in an amount not yet determined. In
                                                                                 24 addition, Verragio is entitled to receive the profits made by Defendant from its wrongful
                                                                                 25 acts pursuant to 17 U.S.C. § 504. Alternatively, Verragio is entitled to recover statutory
                                                                                 26 damages, on election by Verragio, in an amount of up to $150,000 for each copyrighted
                                                                                 27 work sold, offered for sale or distributed.
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                                                                                  1         43.   Defendant’s copyright infringement, and the threat of continuing
                                                                                  2 infringement has caused, and will continue to cause Verragio repeated and irreparable
                                                                                  3 injury. It would be difficult to ascertain the amount of money damages that would afford
                                                                                  4 Verragio adequate relief at law for Defendant’s acts and continuing acts. Verragio’s
                                                                                  5 remedy at law is not adequate to compensate it for the injuries already inflicted and
                                                                                  6 further threatened by Defendant. Therefore, Verragio is entitled to preliminary and
                                                                                  7 permanent injunctive relief pursuant to 17 U.S.C. § 502, and to an order under 17 U.S.C.
                                                                                  8 § 503 and 28 U.S.C. § 1651(a) that the infringing copies of D-103M, D104P, D-104R, D-
                                                                                  9 111, D-123R, D-1333RD, INS-7001 and PAR-3003R, and all molds by which such
                                                                                 10 infringing copies were produced, be seized, impounded and destroyed.
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                                                                                 11         44.   Verragio is also entitled to recover its attorneys’ fees and costs of suit
                                                                                 12 pursuant to 17 U.S.C. § 505.
                                                                                 13                                   Second Cause of Action
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                                                                                 14                    (Trademark Infringement Under 15 U.S.C. § 1114(1))
                                                                                 15         45.   Verragio realleges and incorporates by reference each of the allegations
                                                                                 16 contained in Paragraphs 1 through 44 of this Complaint as though fully set forth here.
                                                                                 17         46.   Defendant’s use in commerce of Verragio’s federally registered trademark in
                                                                                 18 the Verragio Crest is likely to cause confusion, mistake, or to deceive.
                                                                                 19         47.    The above-described acts of Defendant constitute trademark infringement in
                                                                                 20 violation of 15 U.S.C. § 1114(1), entitling Verragio to relief.
                                                                                 21         48.   Defendant has unfairly profited from the trademark infringement alleged.
                                                                                 22         49.   By reason of Defendant’s acts of trademark infringement, Verragio has
                                                                                 23 suffered damage to the goodwill associated with the Verragio Crest.
                                                                                 24         50.   Defendant’s acts of trademark infringement have irreparably harmed and, if
                                                                                 25 not enjoined, will continue to irreparably harm Verragio and its federally registered
                                                                                 26 trademark.
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                                                                                  1         51.   Defendant’s acts of trademark infringement have irreparably harmed and, if
                                                                                  2 not enjoined, will continue to irreparably harm the general public who has an interest in
                                                                                  3 being free from confusion, mistake, and deception.
                                                                                  4         52.   By reason of Defendant’s acts of trademark infringement, Verragio’s
                                                                                  5 remedy at law is not adequate to compensate it for the injuries inflicted by Defendant.
                                                                                  6 Accordingly, Verragio is entitled to injunctive relief pursuant to 15 U.S.C. § 1116.
                                                                                  7         53.   By reason of Defendant’s willful acts of trademark infringement, Verragio is
                                                                                  8 entitled to damages, and that those damages be trebled under 15 U.S.C. § 1117.
                                                                                  9         54.   This is an exceptional case making Verragio eligible for an award of
                                                                                 10 attorneys’ fees under 15 U.S.C. § 1117.
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                                                                                 11                                   Third Cause of Action
                                                                                 12                  (Trademark Infringement and False Designation of Origin
                                                                                 13                                 Under 15 U.S.C. § 1125(a))
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                                                                                 14         55.   Verragio realleges and incorporates by reference each of the allegations
                                                                                 15 contained in Paragraphs 1 through 54 of this Complaint as though fully set forth.
                                                                                 16         56.   Verragio’s jewelry incorporating the Verragio Crest has a unique and
                                                                                 17 distinctive design which designates a single source of origin.
                                                                                 18         57.   Defendant’s use in commerce of the Verragio Crest is likely to cause
                                                                                 19 confusion, or to cause mistake, or to deceive the relevant public that Defendant’s goods
                                                                                 20 or service are authorized, sponsored or approved by or are affiliated with Verragio.
                                                                                 21         58.   The above-described acts of Defendant constitute trademark infringement of
                                                                                 22 the Verragio Crest and false designation of origin in violation of 15 U.S.C. § 1125(a),
                                                                                 23 entitling Verragio to relief.
                                                                                 24         59.   Verragio is being damaged and is likely to be damaged in the future by
                                                                                 25 Defendant’s infringement by reason of the likelihood that purchasers of Defendant’s
                                                                                 26 goods will be confused or mistaken as to source, sponsorship or affiliation of Defendant’s
                                                                                 27 jewelry.
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                                                                                  1         60.   Defendant has unfairly profited from the actions alleged herein and will
                                                                                  2 continue to unfairly profit and become unjustly enriched unless and until such conduct is
                                                                                  3 enjoined.
                                                                                  4         61.   By reason of the above-described acts of Defendant, Verragio has suffered
                                                                                  5 and will continue to suffer damage to the goodwill associated with the Verragio Crest.
                                                                                  6         62.   The above-described acts of Defendant have irreparably harmed and, if not
                                                                                  7 enjoined, will continue to irreparably harm Verragio and the Verragio Crest.
                                                                                  8         63.   The above-described acts of Defendant have irreparable harmed and, if not
                                                                                  9 enjoined, will continue to irreparably harm the general public which has an interest in
                                                                                 10 being free from confusion, mistake, and deception.
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                                                                                 11         64.   By reason of the above-described acts of Defendant, Verragio’s remedy at
                                                                                 12 law is not adequate to compensate it for the injuries inflicted. Accordingly, Verragio is
                                                                                 13 entitled to entry of injunctive relief pursuant to 15 U.S.C. § 1116.
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                                                                                 14         65.   Because the above-described acts of Defendant were willful, Verragio is
                                                                                 15 entitled to damages, and that those damages be trebled, under 15 U.S.C. § 1117.
                                                                                 16         66.   This is an exceptional case making Verragio eligible for an award of
                                                                                 17 attorneys’ fees under 15 U.S.C. § 1117.
                                                                                 18
                                                                                 19                                       Prayer for Relief
                                                                                 20         Therefore, Verragio respectfully requests judgment as follows:
                                                                                 21         1.    That the Court enter a judgment against Defendant that Defendant has:
                                                                                 22               a. infringed the rights of Verragio in Verragio’s federally registered
                                                                                 23                   copyrights under 17 U.S.C. § 501;
                                                                                 24               b. infringed the rights of Verragio in its federally registered trademark in its
                                                                                 25                   Verragio Crest in violation of 15 U.S.C. § 1114; and
                                                                                 26               c. infringed the rights of Verragio in the Verragio Crest in violation of 15
                                                                                 27                   U.S.C. § 1125.
                                                                                 28         2.    That each of the above acts by Defendant were willful.


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                                                                                  1         3.    That the Court issue a Temporary Restraining Order and Preliminary
                                                                                  2 Injunction enjoining and restraining Defendant and its respective agents, servants,
                                                                                  3 employees, successors and assigns, and all other persons acting in concert with or in
                                                                                  4 conspiracy with or affiliated with Defendant, from:
                                                                                  5               (a)   manufacturing, producing, selling, distributing, destroying, altering, or
                                                                                  6                     otherwise disposing of any jewelry that is in the possession of
                                                                                  7                     Defendant that is confusingly similar to the Verragio Crest, or that is
                                                                                  8                     substantially similar to D-103M, D104P, D-104R, D-111, D-123R, D-
                                                                                  9                     1333RD, INS-7001 and PAR-3003R or any other copyrighted design
                                                                                 10                     licensed to Verragio;
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                                                                                 11               (b)   destroying any documents, electronic files, wax models, molds,
                                                                                 12                     business records, or any other tangible object pertaining to the
                                                                                 13                     copying, reproduction, manufacture, duplication, distribution, or
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                                                                                 14                     advertisement of any such jewelry;
                                                                                 15               (c)   engaging in any other activity constituting an infringement of
                                                                                 16                     Verragio’s trademark rights in the Verragio Crest and/or Verragio’s
                                                                                 17                     licensed copyrighted jewelry designs; and
                                                                                 18               (d)   assisting, aiding, or abetting any other person or business entity in
                                                                                 19                     engaging in or performing any of the activities referred to in
                                                                                 20                     subparagraph 3(a) through 3(c) above.
                                                                                 21         4.    That Verragio be awarded damages for Defendant’s trademark infringement,
                                                                                 22 and unfair competition.
                                                                                 23         5.    That Verragio be awarded Defendant’s profits resulting from its
                                                                                 24 infringement of Verragio’s trademark.
                                                                                 25         6.    That Defendant be ordered to account to Verragio for, and disgorge, all
                                                                                 26 profits it has derived by reason of the unlawful acts complained of above.
                                                                                 27         7.    That damages resulting from Defendant’s willful infringement be trebled in
                                                                                 28 accordance with the provisions of 15 U.S.C. § 1117.

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                                                                                  1         8.    That Verragio be awarded damages for Defendant’s copyright infringement
                                                                                  2 in the form of either: (i) actual damages in an amount to be determined at trial, together
                                                                                  3 with Defendant’s profits derived from its unlawful infringement of Verragio’s copyrights;
                                                                                  4 or (ii) statutory damages for each act of infringement in an amount provided by law, as
                                                                                  5 set forth in 17 U.S.C. § 504, at Verragio’s election before the entry of final judgment,
                                                                                  6 together with prejudgment and post-judgment interest.
                                                                                  7         9.    That the Court issue a Permanent Injunction enjoining and restraining
                                                                                  8 Defendant and its respective agents, servants, employees, successors and assigns, and all
                                                                                  9 other persons acting in concert with or in conspiracy with or affiliated with Defendant,
                                                                                 10 from:
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                                                                                 11               (a)   copying, reproducing, manufacturing, duplicating, disseminating,
                                                                                 12                     distributing, or using the Verragio Crest or infringing copies of
                                                                                 13                     Verragio’s licensed copyrighted jewelry designs;
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                                                                                 14               (b)   engaging in any other activity constituting an infringement of any of
                                                                                 15                     Verragio’s trademarks or licensed copyrighted jewelry designs; and
                                                                                 16               (c)   assisting, aiding, or abetting any other person or business entity in
                                                                                 17                     engaging in or performing any of the activities referred to in
                                                                                 18                     subparagraph 9(a) through 9(b) above.
                                                                                 19         10.   That the Court issue an Order at the conclusion of the present matter that all
                                                                                 20 infringing copies of jewelry, and all molds by which such infringing jewelry was
                                                                                 21 produced, be seized, impounded and destroyed.
                                                                                 22         11.   That the Court award Verragio its reasonable attorneys’ fees pursuant to 17
                                                                                 23 U.S.C. § 505, 15 U.S.C. § 1117, and any other applicable provision of law.
                                                                                 24         12.   That the Court award Verragio its costs of suit incurred herein.
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                                                                                 1          13.   That Verragio be awarded such other relief as may be appropriate, including
                                                                                 2 costs of corrective advertising.
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                                                                                 4 DATED: October 2, 2017                       Tucker Ellis LLP
                                                                                 5
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                                                                                                                                By:   /s/Howard A. Kroll
                                                                                 7                                                    Howard A Kroll
                                                                                                                                      Attorneys for Plaintiff
                                                                                 8                                                    VERRAGIO, LTD.
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                                                                                 1                                 DEMAND FOR TRIAL BY JURY
                                                                                 2
                                                                                 3             Plaintiff Verragio, Ltd. hereby demands a trial by jury to decide all issues so triable
                                                                                 4 in this case.
                                                                                 5
                                                                                 6 DATED: October 2, 2017                             Tucker Ellis LLP
                                                                                 7
                                                                                 8
                                                                                                                                      By:    /s/Howard A. Kroll
                                                                                 9                                                           Howard A Kroll
                                                                                                                                             Attorneys for Plaintiff
                                                                                 10                                                          VERRAGIO, LTD.
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